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                                                    9    Attorneys for Plaintiff
                                                10       and the Putative Classes
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                                                11
               THIERMAN BUCK, LLP




                                                                                     UNITED STATES DISTRICT COURT
                  7287 Lakeside Drive




                                                12
                    Reno, NV 89511




                                                                                          DISTRICT OF NEVADA
                                                13
                                                         CHRISTOPHER NELSON, on behalf of                 Case No. 3:21-cv-00066-MMD-CLB
                                                14       himself and all others similarly situated,
                                                                                                          [PROPOSED] ORDER APPROVING FLSA
                                                15
                                                                        Plaintiff,                        NOTICE
                                                16
                                                                vs.
                                                17
                                                18       WAL-MART ASSOCIATES, INC., and
                                                         DOES 1 through 50, inclusive,
                                                19
                                                                        Defendant(s).
                                                20
                                                21
                                                                The Court Orders as follows:
                                                22
                                                                1.      The Court adopts the attached Notice and Consent to Join form for use in this case.
                                                23
                                                                2.      Notice of this lawsuit will be sent to all current and former employees of Defendant
                                                24
                                                         who fall within the definitions for the following two (2) FLSA classes:
                                                25
                                                26
                                                27
                                                28


                                                                                                       -1-
                                                                               [PROPOSED] ORDER APPROVING FLSA NOTICE
                                                        Case 3:21-cv-00066-MMD-CLB Document 37-7 Filed 10/22/21 Page 2 of 3




                                                    1
                                                                          FLSA Dry Section Class:      All non-exempt hourly paid food
                                                    2                                                  distribution warehouse employees who
                                                                                                       (i) were employed by Defendant in the
                                                    3                                                  United States at any time within 3 years
                                                                                                       from the filing of the original complaint
                                                    4
                                                                                                       in this action, (ii) worked in the dry
                                                    5                                                  section of the food distribution
                                                                                                       warehouse, and (iii) were required to
                                                    6                                                  retrieve a scanner, printer, or other
                                                    7                                                  electronic device pre-shift.

                                                    8                    FLSA Cold Section Class:      All non-exempt hourly paid food
                                                                                                       distribution warehouse employees who
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                                                    9                                                  (i) were employed by Defendant in the
                                                10                                                     United States at any time within 3 years
                                                                                                       from the filing of the original complaint
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                                                11                                                     in this action, (ii) worked in the cold
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                                                                                                       section of the food distribution
                  7287 Lakeside Drive




                                                12                                                     warehouse, and (iii) were required to don
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                                                13                                                     cold storage personal protective
                                                                                                       equipment (PPE) pre-shift.
                                                14
                                                                 3.      If it has not already done so, within fourteen (14) days of the date of this Order,
                                                15
                                                         Defendant will provide to Plaintiff’s counsel a list in computer-readable format of the: (a) full
                                                16
                                                         name; (b) current home address or last known address; (c) telephone number; (d) email address;
                                                17
                                                         and (e) Social Security number of each person who falls in the definitions set forth in paragraph
                                                18
                                                         two (2) of this Order. Plaintiff’s counsel will treat this information as confidential and will not
                                                19
                                                         disclose it to third parties.
                                                20
                                                21               4.      Within twenty-one (21) days of the date of this Order, Plaintiff’s counsel, or a

                                                22       claims administration company that Plaintiff’s counsel selects to process the mailing and opt-in

                                                23       forms (hereinafter collectively referred to as “Claims Administrator”) shall mail a Notice, a

                                                24       Consent to Join form, and a postage pre-paid return envelope, to each person identified on the list

                                                25       discussed in Paragraph 3 of this Order.

                                                26              5.       The Claims Administrator shall establish a website repository containing printer-
                                                27       friendly versions of the Class Notices and Consent to Join forms, any other documents the parties
                                                28       wish to make available, and contact information for the notice administrator and Plaintiff’s


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                                                                                 [PROPOSED] ORDER APPROVING FLSA NOTICE
                                                        Case 3:21-cv-00066-MMD-CLB Document 37-7 Filed 10/22/21 Page 3 of 3




                                                    1    counsel, including a Consent to Join form that may be completed online, so long as the online
                                                    2    form provides a means by which the individual signifies his or her assent to the statements listed
                                                    3    on the form comparable to signature, such as by checking a box on a web page.
                                                    4          6.       Plaintiff may commence a social media campaign on websites geared to reach the
                                                    5    target audience directly and provide putative class members with the contact information for the
                                                    6    notice administrator and Plaintiff’s counsel as well as the website containing the electronic Notice
                                                    7    and Consent to Join forms.
                                                    8          7.       Any person who wishes to opt in to this lawsuit must properly complete the
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                                                    9    Consent to Join form and return it to Plaintiff’s counsel or the Claims Administrator via hard copy
                                                10       by U.S. Mail or through a Web form.
           (775) 284-1500 Fax (775) 703-5027




                                                11             8.       If any notice package is returned undeliverable, the Claims Administrator will,
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                  7287 Lakeside Drive




                                                12       within fourteen (14) days thereafter, use the Social Security number provided by Defendant and
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                                                13       attempt to obtain an alternative address for that addressee and mail the notice package to that
                                                14       alternate address. The Claims Administrator will keep record of: (a) the date on which any notice
                                                15       package is returned undeliverable; (b) the date on which the undeliverable notice package is sent
                                                16       to an alternate address; and (c) any updated addresses.
                                                17             9.       Plaintiff’s counsel or the Claims Administrator will date-stamp and number each
                                                18       properly completed Consent to Join form and accompanying envelope (if any) that is sent to them.
                                                19       Plaintiff’s Counsel will send a copy of Consent to Join forms it receives to counsel for Defendant
                                                20       on each Friday after the initial mailing.
                                                21             10.      Plaintiff’s counsel will file the list of the people who timely returned Consent to
                                                22       Join forms identified above with the Court within thirty days after receipt or earlier. Plaintiff’s
                                                23       counsel will retain a copy of the list and the envelope in which the Consent to Join forms were
                                                24       received.
                                                         IT IS SO ORDERED.
                                                25
                                                26       DATED:

                                                27                                              ______________________________________
                                                                                                U.S. DISTRICT COURT JUDGE
                                                28


                                                                                                       -3-
                                                                                [PROPOSED] ORDER APPROVING FLSA NOTICE
